312 F.2d 741
    Joseph Robert CRAWFORD, Appellant,v.Albert M. MIZE.
    No. 17246.
    United States Court of Appeals Eighth Circuit.
    Jan. 14, 1963.
    
      Shrout &amp; Foley, Omaha, Neb., and Robert Dippel, Council Bluffs, Iowa, for appellant.
      Donald P. Baird, Council Bluffs, Iowa, Richard T. Churchill and L. R. Brodkey, Omaha, Neb., for appellee.
      PER CURIAM.
    
    
      1
      Appeal docketed and dismissed at cost of appellant on motion of appellee and memorandum brief in support, etc.
    
    